                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                               CENTRAL DIVISION

 UNITED STATES OF AMERICA,
                 Plaintiff,                               No. 15-CR-3011-LRR
 vs.                                   ORDER REGARDING
                                  MAGISTRATE’S REPORT AND
 SHAWN BENEDICT ZIMMERMAN,             RECOMMENDATION
                                   CONCERNING DEFENDANT’S
         Defendant.                       GUILTY PLEA
                     ____________________

                        I. INTRODUCTION AND BACKGROUND
         On February 19, 2015, a two-count Indictment was filed against the defendant,
Shawn Benedict Zimmerman. On April 20, 2015, the defendant appeared before United
States Chief Magistrate Judge Jon S. Scoles and entered a plea of guilty to Count 1 of the
Indictment. On April 20, 2015, Judge Scoles filed a Report and Recommendation in
which he recommended that the court accept the defendant’s guilty plea. On April 20,
2015, the defendant filed a Waiver of Objections to Report and Recommendation. The
court, therefore, undertakes the necessary review of Judge Scoles’s recommendation to
accept the defendant’s plea in this case.
                                     II. ANALYSIS
         Pursuant to statute, this court’s standard of review for a magistrate judge’s report
and recommendation is as follows:
                A judge of the court shall make a de novo determination of
                those portions of the report or specified proposed findings or
                recommendations to which objection is made. A judge of the
                court may accept, reject, or modify, in whole or in part, the
                findings or recommendations made by the magistrate judge.

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for


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review of a magistrate judge’s report and recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge must determine de novo any part of the
              magistrate judge's disposition that has been properly objected
              to. The district judge may accept, reject, or modify the
              recommended disposition; receive further evidence; or return
              the matter to the magistrate judge with instructions.
Fed. R. Civ. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles’s findings and conclusions that there is no ground to reject or modify
them. Therefore, the court ACCEPTS Judge Scoles’s Report and Recommendation of
April 20, 2015, and ACCEPTS the defendant’s plea of guilty to Count 1 of the
Indictment.
      IT IS SO ORDERED.
      DATED this 21st day of April, 2015.




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